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5
                                UNITED STATES DISTRICT COURT
6                              EASTERN DISTRICT OF WASHINGTON

7     UNITED STATES OF AMERICA,
                                                   NO. CR-07-0150-LRS-4
8                      Plaintiff,
9
        v.
10
                                                ORDER RE POST-TRIAL MOTIONS
11
      MARCELINO RAMOS-LOPEZ,
12

13                     Defendant.
14

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          This order is entered to memorialize and supplement the rulings by
16
     the Court made on November 20, 2008, at the scheduled sentencing hearing.
17
          IT IS HEREBY ORDERED:
18
          1.   Defendant Ramos-Lopez’s Renewed Motion to Acquittal, or in the
19
     Alternative for a New Trial, Ct. Rec. 333, filed on August 23, 2008 in
20

21   NO. CR-07-0150-LRS-4, is DENIED for the reasons stated on the record at

22   trial.

23        2.     Defendant Ramos-Lopez’s Motion for Extension of Time to File
24   Briefing in Support of Motion for Acquittal or New Trial, Ct. Rec. 335,
25
     filed in NO. CR-07-0150-LRS-4, is GRANTED. All briefing from counsel for
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     ORDER - 1
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1    the Defendant has bee considered by the court prior to its oral ruling
2    denying the motion.
3
            3.   Defendant Ramos-Lopez’s Motion for Expedited Hearing on Motion
4
     to Extend Time, Ct. Rec. 337, filed in NO. CR-07-0150-LRS-4, is GRANTED.
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            4.   Defendant Ramos-Lopez’s Motion for Downward Departure, Ct. Rec.
6
     370,    filed in NO. CR-07-0150-LRS-4, is DENIED.
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8           5.   Defendant Ramos-Lopez’s Motion To Strike Government’s Notice of

9    Review of Presentence Investigation Report and Sentencing Memorandum, Ct.

10   Rec. 403,     filed in NO. CR-07-0150-LRS-4, is DENIED.
11          IT IS SO ORDERED.      The District Court Executive is directed to
12
     enter this order and to provide copies to all counsel, the U.S.
13
     Probation Office, the U.S. Marshal, and the Jury Administrator.
14
            DATED this    26th     day of November, 2008.
15

16                                      s/Lonny R. Suko
                                 ___________________________________
17                                       LONNY R. SUKO
18                                    UNITED STATES DISTRICT JUDGE

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     ORDER - 2
